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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF OKLAHOMA

XUEHONG SHARON GOU,                               )
                                                  )
                            Plaintiff,            )
                                                  )
v.                                                )      No. CIV-21-679-R
                                                  )
THE BOARD OF REGENTS OF THE                       )
UNIVERSITY OF OKLAHOMA,                           )
                                                  )
                            Defendant.            )

                              ADMINISTRATIVE CLOSING ORDER


       On the representations from counsel for both sides that the parties have reached a settlement and

compromise, it is ordered that the Clerk administratively terminate this action in her records without

prejudice to the rights of the parties to reopen the proceeding for good cause shown, for the entry of

any stipulation or order, or for any other purpose required to obtain a final determination of the

litigation.

       If the parties have not reopened this case within forty-five (45) days of this date for the purpose

of dismissal pursuant to the settlement compromise, Plaintiff’s action shall be deemed to be dismissed.

       IT IS SO ORDERED this 16th day of September, 2022.
